                  Case 3:97-cr-00082-CCC                 Document 3325               Filed 05/12/06            Page 1 of 4
    qAO 245D   (Rev.l2l03) Jndgmentin a CriminalCasefor Revocarions
               SheetI



                                         UNrreoSrarrsDrsrrucrCounr
                       Fr)p     Tt-t F                        Districtof                                PUERTORICO
          UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                              v.                                      (For Revocation of Probation or Supervised Release)

         VICTOR MANUEL TORRES
               GALINDEZ                                               CaseNumber:                        97-CR-82(SEC)
                                                                      USMNumber:                         39
                                                                      AFPD.FRANCISCOVALCARCEL
                                                                      Defendant's Attomey
THE DEFENDAIIT:
X     admittedguilt to violation of condition(s) StatutoryandStandard                                   of the term of supervision.

!     wasfound in violation of condition(s)                                        after denial ofguilt.
The defendantis adjudicatedguilty ofthese violations;


Violrtion Number                 Natur€ of Violation                                                        Violation Ended
                                 The defendantshall not possesa fuearm, destructivedevice, or any dangerous Q4/01/05;04/04/05;
StatutoryCondition               weapon.                                                                    04/05/05;04/09/05
                                                                                                                      04/01/05;04/041O5;
                                 The defendantshall not commit anotherfederal, stateor local crime.                   04/05/05;04/09/05




      The defendant is sentenced as provided in pages 2 tbrough             4      of this judgment. The sentenceis imposedpursuantto
the SentencingReform Act of | 984.

n     The defendanthas not violated condition(s)                                and is dischargedas to such violation(s) condition.

         It is ordered that the defendantmust notify the United Statesanorney for this district within 30 davs of anv
changeof name,-residence,     or mailing addressuntil all frnes,restitution,cosd, and specialassessments rmrioseOly'ttris iudsmenr are
tully pald. ll ordered to pay restltution. the defendanlmust notify the coun and Uniied Statesattomey of inateriaf changesin
econorruc clrcunNtances.

Defendant's
          Soc.Sec.No.:
                                                                      Date of Irnposition of Judgment
Defendant's
          Dateof Birth:


                                                                      S/ SalvadorE. Casellas
                                                                      Signature
                                                                              of.ludge
Defendanf s ResidenceAddrcss:



                                                                      SALVADORE. CASELLAS,U.S, DISTRICTCOURT
                                                                      Name and Title ofJudge



                                                                      MAY 12.2006
Defendant's
          Mailing Address:
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                              in a CriminalCasefor Revocarions
           Sheet2- Imprisonm€nt


                                                                                             Judgment P^ae      2     ot   4
DEFENDANT:                VICTOR MANUEL TORRES-GALINDEZ
CASENUMBER:               e7-cR-082(39)(SEC)


                                                       IMPRJSONMENT

       The defendantis herebycommittedto the custodyofthe UnitedStatesBureauofPrisonsto be imprisonedfor a
totaltermof : TWENTY ONE (21) MONTHS.




   !   The courtmakesthe followingrecommendations
                                               to theBureauof Prisons:




   X The defendantis remandedto the custody ofthe United StatesMarshal.

   tr The defendantshall surrenderto the United StatesMarshal for this district:
       ! a t                                I     a.m.    E p.-.      on
       E    as notified by the United StatesMarshal.

   !   The defendant shall surrender for service of sentenceat the institution designated by the Bureau of Prisons:

       !    before 2 p.m. on

       E    asnotifiedby theUnitedStatesMarshal.

       I    asnotifiedby theProbationor Pretial ServicesOffrce.

                                                             RETURN
I have executedthis judgment as follows:




       Defendantdelivered on

                                                with a certified copy ofthisjudgment.




                                                                                           TJNITEDSTATESMARSHAL


                                                                   By
                                                                                        DEPUTYUNITED STATESMARSHAL
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                                                                                                                 -l-
DEFENDANT:                   vlcroR MANUEL TORRES-GALINDEZ
CASENUMBER:                  97-CR-082(39) (SEC)
                                                      SUPERVISEDRELEASE
Uponreleasefrom imprisonment,
                           the defendantshallbe on supervised
                                                            releasefor a termof:                       SIX (6) MONTHS


-     . The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
lrom Ine custody ot the uureau ol Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendqlrtshall not unlaw_lirllypossessa controlled substance.The defendantshall refrain from anv unlawful use ofa controlled
substance. I he del-endantshall submit to one drug test within 15 days ofrelease from imprisonment anil at leasttwo periodic drug
tests thereafter as determined by the court

I        The above drug testing condition is suspended,basedon the court's determinationthat the defendantposesa low risk of
         future substanceabuse. (Check, ifapplicable.)

X        The defendant shall not possessa firearm, destructive device, or any other dangerous weapon. (Ch€clq if applicabl€.)

X        The defendant shall cooperate in the collection of DNA as dir€cted by the probation oflicer, (Check, if applicable.)

!        The defendant shall register with the stat€ sex offender regishation agency in the state where the defendant resides, works,
         or is a student,as directedby the probation officer. (Check, if applicable.)

n        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
              judqlent imposesa ltne or restitution.it is be a condition of supervised releasethat the defendant pay in accordance
   , , I this
wrrn rne Jcnequle or rayments sneetol lnts ludgmenl.

   , . . . The defendant must comply with the standard conditions that have been adopted by tlis court as well as with any additional
conolrronson me anacneopage.


                                    STANDARD CONDITIONS OF SUPERVISION
    1)    the defendantshall not leave the judicial district without the permissionofthe court or probation officer;
    2)    the defendantshall report to the probation oflicer and shall submit a trutbi.rl and complete w:rittenreport withinthe fust frve days
          of each month:
    3)    the defendant shall answer truthfully all inquiries by the probation o{ficer and follow the instructions ofthe probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendantshall work regularlyat a lawful occupation,unlessexcusedby the probation officer for schooling,training, or other
          acceDmDlereasons:
    6)    the defendant shall notiS the probation officer at least ten days pdor to any change in residence or employrnent;
    7)    the defendantshall refrain from excessiveuse ofalcohol and shall not purchase,possess.use. distribute. or adminisreranv
          controlled substanceor any paraphernaliarelatedto any controlled sub'stances,
                                                                                      eicept as prescribedby a physician;
    8)    the defendantshall not frequent placeswhere controlled substancesare illegally sold, used, distributed,or administered;
    9)    th^edg{endantshall not associalewidr any p.ersonsengagedin criminal activity and shall trot associatewith any personconvicted
          or a relony. unlessgranteopennlsston to do so by the probatton olllcer;
l0)       th.edefendantshall permit a probation officer to visit hin or her at any time at home or elsewhereand shall permit confrscation
          oIany contrabandobservedin plain view of the probation officer,
I I)      the defendant shall noti$' the probation officer within seventy-two hous of b€ing arested or questioned by a law enforcement
          ollrcer;
12)       the defendantshall not enter,intoany agroementto act asan informer or a specialagentofa law enforcementagencywithouttle
          DerrnlsslonoI tne coun: and
t: t      as airected by the probation oflicer- the defendantshall notily t hird partresot nsks rlrat may be occasionedbv t}le defendant's
          crimrnal record orpersonal history or characteristic_sand shall pemiit the probation officei lo make such noiifications and ro
          conI|rln tne oelenoant s compllance wllJl such notlllcatlon requuement.
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          Sheet3A - Supervised Release

                                                                                 Judgment Page
DEFENDANT:  VICTOR MANUEL TORRES-GALINDEZ
CASENUMBER: 97-cR-082(39)(SEC)

                              ADDITIONAL SUPER!'ISEDRELEASE TERMS
l. The defendantshall not comm.itanotherfeder-al,state.or_localcrime, and shall nol possessfirearms,
dangerousw.egpgnsor controlled subslancesand comply with t}e standardconOliions'Jiupervised reiease
adoDtedbv this Court.

2. The defendantshallrefiain from theunlawfuluseofcontrolledsubstances,   andsubmitto a drugtestw-ithinfifteen
(15) daysof release;thereafter,submitto randomdrugtest,not to exceed104samplesper yearaccordance       with the
Drug AftercareProgramPolicyofthe U.S.ProbationOffice approvedby this Court. If any suchsamplesdetect
substanceabuse,the defendantshall participatein a drug heatmentprogram(in-patient or out-patient) in accordance
with suchpolicy.The defendantis requiredto contributeto the costof servicesrendered(co-payrnent) basedon the
ability to pay or availabilityof third partypayments,asapprovedby theCourt.

3. The defendantshallprovidetheU.S.ProbationOfficeraccessto any financialinformationuponrequestandshall
produceevidenceto theU.S.ProbationOfficer to the effectthat incometax returnshavebeendulv filed within his
placeofresidenceasrequiredby law.


4. The defendantshall submit.hisperson,residence,office or vehicle to a search,conductedby a U.S.
ProbationOfficer at a reasonableiime and in a reasonablemanner,basedupon reasonaUteius:picionof
contrabandor evidenceofa violation ofcondition ofrelease;failure to subinit to a searchmali bJ g.o*ar fot
revocation;the defendantshall wam any other residentsthat the premisesmay be subjectto s'earch"es pursuant
to this condition.
